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         IN THE UNITED STATES DISTRIC COURT                                              ~    ve t~

       FOR THE NORTHERN DISTRICT OF GEORGIA
                  ATLANTA DIVISION




RATSSA DJUlSSl KENGNE,                      )

Plaintiff,                                  )

                                            )
V.                                          )

AGSOUTH FARM CREDIT, ACA                    )   Case No. l :22-CV-2263

26 South Main Street                        )
Statesboro, GA 30458 - USA                  )
and                                         )

AGFIRST FARM CR EDIT BANK
C/O JOHN MAGRIRE, BROWN & WOOD              )

ONE WORLD TRADE CENTER                      )
NEW YORK, NY 10048                          )
Defendants.                                 )   JURY TRIAL DEMANDED




     PLAINTIFF'S MOTION TO ST AY THE CASE AND BRIEF IN

                                 SUPPORT




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TO THE HONORABLE JUDGE OF SAID COURT:

      PLAINTIFF, RAISSA DJUISSI KENGNE ("Plaintiff" or "Whistleblower")

files this Motion To Stay The Case And Brief In Support pursuant to 28 U.S. Code

§ 1441 and 28 U.S. Code§ 144 7. For the reasons set forth in this instrument, Plaintiff

respectfully requests that this Court stay the case.

      In order to avoid the potentially unnecessary cost and burden of litigation,

Plaintiff moves that this case including their answers be stayed pending a ruling on

Plaintiffs Appeal.


                          PROCEDURAL POSTURE

      PlaintiffRaissa Djuissi Kengne filed the Complaint and the request to proceed

IFP on June 7th, 2022, (doc. I).

      Judge Catherine M. Salinas issued the first Recommendation and Report

("R&R") and order denying (Doc.2) Application for Leave to Proceed in forma

pauperis on June 9 th , 2022.

      Plaintiff Raissa Djuissi Kengne filed a Motion for Reconsideration and

Response and Objections (Doc. 4) to the first R&R and Order on July l5t, 2022.

       Shortly thereafter, Plaintiff Raissa Djuissi Kengne filed a Motion for Appeal

on the Order of Judge Catherine M. Salinas on July 51\ 2022 .



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      On August 5th, 2022 , Judge Catherine M. Salinas issued the following report

and recommendation and order, which was the second R&R and order on this case:

          ■   Ordered that Plaintiffs application to proceed IFP be denied.

          ■   Recommended that Plaintiffs complaint be dismissed without

              prejudice

          ■   Directed the Clerk to terminate the submission and/or reference to her.

      On August 17th, 2022, Plaintiff Raissa Djuissi Kengne filed a Response and

Objections to (Docs. 7, 8) the second Report and Recommendation and objected to

the order being adopted to the extent it recommends that 1) Plaintiffs application to

proceed IFP be denied, 2) Plaintiffs complaint be dismissed without prejudice for

failure to pay the filing fee and failure to comply with a lawful order of the Court.

      Plaintiff Raissa Djuissi Kengne filed a Notice of Appeal of the Court's R&R

and order on August 17 th , 2022.

      Plaintiff Raissa Djuissi Kengne now seeks to stay the case pending the

outcome of the appeal.


           ARGUMENT AND CITATION OF AUTHORITY


      The Supreme Court has explained that "a federal district court and a federal




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court of appeals should not attempt to assert jurisdiction over a case simultaneously.

The filing of a notice of appeal is an event of jurisdictional significance -- it confers

jurisdiction on the court of appeals and divests the district court of its control over

those aspects of the case involved in the appeal." Griggs v. Provident Consumer

Discount Co. , 459 U.S. 56, 58, 103 S. Ct. 400, 401 , 74 L. Ed. 2d 225 (1982).

      As the Eleventh Circuit has explained , once a notice of appeal has been filed,

the "district court retains only the authority to act in aid of the appeal, to correct

clerical mistakes, or to aid in the execution of a judgment that has not been

superseded ." Showtime/The Movie Channel, Inc. v. Covered Bridge Condominium

Ass'n, Inc., 895 F.2d 711 , 713 (11th Cir. 1990).

      Moreover, Rule 26(d) of the Federal Rules of Civil Procedure provides the

Court broad discretion to alter the sequence of discovery "for the convenience of

the parties .. . and in the interests ofjustice." Fed. R. Civ. P. 26(d).

      Further, federal courts routinely exercise their power to stay a proceeding

where a stay would promote judicial economy and efficiency. See, e.g., Miccosukee

Tribe ofindians of Fla. v. S. Fla. Water Mgmt. Dist. , 559 F.3d 1191 , 1198 (11th Cir.

2009) (approving district court's decision to stay case pending appeal in another case

that was "likely to have a substantial or controlling effect on the claims and issues

in the stayed case"). As any decision from the Court of Appeals wi.11 have profound



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impact on the development of this case and because it is in the interests of efficiency

and justice, this Comt should exercise its discretion this case and relieve the parties

from having to exert additional resources pending a ruling on Plaintiff's appeal.

      This case does not involve novel questions related to the constitutionality of

a state statute. As patt of the review related to the appeal, the Circuit Court of

Appeals will necessarily be required to examine the viability of Plaintiff's claims.

As such the issues on appeal bear directly on the further adjudication of this case

before this Court.

      The issues in the pending appeal mirror the issues remaining in this court and

Plaintiff believes that in the interest of judicial economy, and a desire to conserve

the resources of the parties that a stay of the case is warranted.


                                      CONCLUSION

      For these reasons, Plaintiff respectfully requests that the Court stay this

matter until the appeal is adjudicated.




(Signature page follows)




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Dated: August 17th, 2022


                                                    Respectfully submitted,


                                                          ~        ~-~
                                                                    '
                                                    Raissa Djuissi Kengne
                                                    Pro Se

Physical Address:                                   Mailing Address :
1280 W. Peachtree ST NW. Unit 2109                  570 Piedmont Ave. NE #55166
Atlanta, GA 30309                                   Atlanta, GA 30308
Telephone: (404) 932-1651
Email: cianeseya2022(a)gmai l. com


State of Georgia
County of Fulton

This instrument was acknowledged before me this 17 th day of August (month),
      year), by Raissa Djuissi Kengne (name of signer).

        Personally Known
        Produced Identification

Type and # of ID - Driver' s License # 05549

(Seal~
     ) ----~-::".'.'.':":';".~ --,
              Jocelyn Algarin
             NOTARY PUBLIC
           Cobb County, GEORGIA
       My Commission Expires 03/08/2026_.
                                                    Notary Public, State of Georgia




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                        CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 17th, 2022, all counsel of

record who are deemed to have consented to electronic service are being served a

true and correct copy of the foregoing document using the Court's CM/ECF system,

in compliance with Local Rules, by mailing the same, certified mail with return

receipt, to the address listed below.

 AGSOUTH FARM CREDIT, ACA
 26 South Main Street
 Statesboro, GA 30458 - USA
 and
 AGFIRST FARM CREDIT BANK
 C/0 JOHN MAGRJRE, BROWN & WOOD
 ONE WORLD TRADE CENTER
 NEW YORK, NY I 0048



Respect ully s bmitted,


Raissa Djuissi Kengne
Pro Se


Mailing Address:                        Physi.cal Address :
570 Piedmont Ave. NE #55166             1280 W . Peachtree ST NW. Unit 2109
Atlanta, GA 30308                       Atlanta, GA 30309
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